Case 1:17-cv-00296-LEK-DJS Document 65-2 Filed 10/21/20 Page 1 of 35

EXHIBIT A
Case 1:17-cv-00296-LEK-DJS Document 65-2 Filed 10/21/20 Page 2 of 35

DENLEA & CARTON LLP

2 Westchester Park Drive, Suite 410
White Plains, NY 10604
(914) 331-0100
Tax ID#XX-XXXXXXX

October 15, 2020

Brandon Kommer v. Ford Motor Company
Civil Action No. 17-cv-296-LEK/DJS

DATE DESCRIPTION HOURS AMOUNT

Mar-02-17 Conference with M. Bartley and R. Berg re: legal 1.50 1,012.50
claims and prospective strategy for class action
filing;

Mar-03-17 Research legal claims and begin drafting 8.50 5,525.00
complaint; '

Mar-06-17 Conference with J. Carton; continue drafting 4.75 3,087.50
complaint;

Mar-07-17 Edit/revise draft complaint; review elements of 5.75 3,881.25
cause of action; conference with M. Bartley re:
same;
Correspond with client concerning complaint; 3.75 2,437.50

conference with J. Carton;

Mar-08-17 Finalize complaint; arrange for filing of same; 0.75 506.25

Mar-10-17 Review Order re: assignment to SDNY from J. 0.50 337.50
\ Briccetti; conference with M. Bartley re: same;
edit/revise draft correspondence;

Review order from court; discuss same with R. 2.50 1,625.00
Berg; prepare draft letter to Judge Briccetti;
prepare notice of dismissal;

Conference with J. Carton and M. Bartley 1.50 1,012.50

regardin ¢ reas

review correspondence with Court in SDNY;

LAWYER

JIC

MKB

MKB

JIC

MKB

JIC

JIC

MKB

RJB
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Mar-13-17 Edit/revise draft complaint; coordinate filing letters 1.50 975.00 MKB
to Judge Briccetti, notice of discontinuance, and
new complaint;

Mar-15-17 Telephone call with M. Rappaport regarding 0.50 325.00 MKB
complaint; telephone call with client; correspond
internally concerning same;

Mar-16-17 Teleconference with B. Kommer rc iii 0.75 506.25 JIC
ee
Correspond with client concerning telephone call; 0.75 487.50 MKB
participate in conference call with client;

Mar-17-17 Discuss additional client with J. Carton; call 0.40 260.00 MKB
potential client;

Mar-20-17 Telephone call with additional F-150 owner; [.50 975.00 MKB
correspond internally concerning same;

Mar-21-17 Correspond with prospective class member 0.50 325.00 MKB

: regarding his F-150;

Mar-22-17 Correspond internally concerning communication 0.10 65.00 MKB
with potential class member;

Mar-25-17 Correspond with D. Burke regarding affidavit of 0.10 65.00 MKB
service;

Mar-30-17 Correspond regarding notice of appearance; 0.10 65.00 MKB

Mar-3 1-17 Coordinate schedules for expected motion to 1.00 650.00 MKB

dismiss; reivew correspondence from court and
defense counsel;

Apr-06-17 Conference with M. a re: eee 0.25 168.75 JIC

Draft letter to Aaronson Rappaport; correspond 1.75 1,137.50 MKB
with client; telephone call to New Country Ford

Apr-07-17 Teleconference with P. Fazio at Aaronson 0.50 337.50 JIC
Rappaport (defense counsel);

Apr-10-17 Research Section 349 damage allegations; 1.00 650.00 MKB

Apr-12-17 . Teleconference with P. Fazio re: motion to dismiss; 3.50 2,362.50 JIC

review brief in support; conference with M. Bartley

rc: as
Invoice Case 1:17-cvl@296-LEK-DJS Document 65-2 Filed 10/21/20 Qeather4l £2830

R

Review motion to dismiss; discuss same with R. 2.50 1,625.00 MKB
Berg; correspond with P. Fazio regarding new

return date and briefing schedule; review 2015

F-150 product brochure;

Review motion to dismiss; multiple conferences 2.50 1,687.50 RJB
with J. Carton and M. Bartley regarding same;

Apr-13-17 Continue reviewing case law cited by defendant; 8.50 5,525.00 MKB
discuss same with R. Berg;

Apr-14-17 Continue review of case law cited by Ford; discuss 3.50 2,275.00 MKB
same with R. Berg;

Apr-19-17 Meet with R. Berg and discuss strategy; meet with 5.00 3,250.00 MKB
J. Carton and R. Berg and discuss pleading issue;

review

 

draft memo concerning

same;

Multiple conferences with J. Carton and M. 4,50 3,037.50 RJB
Bartley; review case law and prior automotive
decisions in class action context;

Apr-20-17 Conference with M. Bartley and R. Berg re: 3.50 2,362.50 JIC
opposition to Motion to Dismiss and possibility of
amending complaint; review cold weather test
videos;

Continue research concerning potential misleading 6.90 4,485.00 MKB
statements by Ford; discuss same with R. Berg;

correspond internally concerning same; continue

research concerning pleading Section 349 and 350

claims; draft letter to court concerning adjourning

return date for Ford's motion to dismiss; correspond

with Ford's counsel concerning same;

5.50 3,712.50 RJB
; multiple
conferences with J. Carton and M. Bartley
regarding cases of action; continued review of
motion to dismiss
Apr-21-17 Edit/revise draft correspondence to court; review 0.50 337.50 JIC

emails with opposing counsel;
Invoice Case 1:17-cvPaG@296-LEK-DJS Document 65-2 Filed 10/21/20 Geagberd Hf2020

5

Correspond with P. Fazio regarding letter to court; 1.00 650.00 MKB
revise letter; :

Apr-24-17 Review case law relied upon by Ford; research 5.90 3,835.00 MKB
same;

Apr-25-17 Discussed research issues with R. Berg; 7.80 5,070.00 MKB
researched omissions cases under GBL Section
349 and 350;

Apr-26-17 Continue researching GBL 340 and 350 issues; 4.50 2,925.00 MKB

discuss same with R. Berg; begin drafting
opposition to motion to dismiss;

Conference with M. Bartley; edit/revise portions of 5.75 3,881.25 RJB
draft opposition to motion to dismiss;

Apr-27-17 Continued research concerning claims under GBL 6.50 4,225.00 MKB
Sections 349 and 350; begin drafting opposition to
motion to dismiss; discuss same with R. Berg;

Apr-28-17 Review draft opposition to motion to dismiss; 5.20 3,380.00 MKB
May-01-17 Revise draft opposition to Ford's motion to dismiss; 7.50 4,875.00 MKB
Extensive review and edits to draft brief in 6.50 4,387.50 RJB

opposition to motion to dismiss; multiple
conferences with M. Bartley regarding same;

May-04-17 Review and analyze Ford's motion to dismiss and = 5.50 3,712.50 JIC
initial draft opposition; review case law referenced
by Ford;

May-05-17 Continue review of draft opposition brief; 4.75 3,206.25 JIC
edit/revise same; conference with M. Bartley;
Edit and cite check draft brief; correspond with 2.90 1,885.00 MKB
client concerning same;

May-06-17 Revise draft opposition to motion to dismiss; 3.50 2,275.00 MKB
conference with J. Carton regarding same;

May-07-17 Correspond with client concerning draft brief; 0.30 195.00 MKB

May-08-17 Further edit draft opposition; finalize brief; 6.50 4,225.00 MKB

correspond with client concerning same;
Invoice Case 1:17-c\PAR295-LEK-DJS Document 65-2 Filed 10/21/20 Ceaera 512820

May-22-17 Review Ford's reply motion; discuss same with R. 3.50 2,275.00 MKB
Berg;

May-23-17 Review Ford's reply on motion to dismiss; 1.50 1,012.50 JIC
conference with M. Bartley regarding same;
Correspond with client concerning Ford's reply 0.10 65.00 MKB
motion;
Review Ford's reply; conference (x2) with M. 1.50 1,012.50 RJB

Bartley and J. Carton regarding same;

   

Jul-28-17 Review decision re: motion to dismiss; conference 1.00 675.00 JIC
with M. Bartley and R. Berg re:
Review opinion by court; discuss same with J. 1.00 650.00 MKB
Carton and R. Berg; telephone call with client
concerning opinion;
Review Decision on motion to dismiss with leave 1.00 675.00 RJB

to replead; conference with team as to strategy and
prospective amended pleading;

Aug-09-17 Review) 0.70 455.00 MKB

Le
Aug-10-17 Telephone call with B. Kommer; begin drafting 3.75 25;437.50 MKB
amended complaint;
Aug-11-17 Correspond with client concerning = 1.00 650.00 MKB
Aug-14-17 Continue drafting amended complaint; 7.50 4,875.00 MKB
Aug-15-17 Further edit draft amended complaint; 3.50 2,275.00 MKB
Edit and revise draft amended complaint with 3.75 2,931.25 RIB

reference to Judge's decision; conference (x3) with
M. Bartley regarding same;

Aug-16-17 Review draft amended complaint; conference with 3.50 2,362.50 JiC
R. Berg re: ian
ee

Aug-17-17 Discuss complaint with R. Berg and J. Carton; 6.50 4,225.00 MKB

further revise draft complaint;

Aug-20-17 Review complaints asserting Section 349 4.50 2,925.00 MKB
Invoice Case 1:17-cvPa@296-LEK-DJS Document 65-2 Filed 10/21/20 Oeaiher” if2820

claims with omissions theory; revise amended

complaint;
Aug-21-17 Revise draft amended complaint; 5.75 3,737.50 MKB
Aug-23-17 Review and revise draft amended complaint; 0.50 325.00 MKB
Aug-25-17 Review and revise draft amended complaint; 3.50 2,362.50 JIC

conference with M. Bartley and R. Berg re: same;

Review draft complaint; telephone call with client; 2.00 1,300.00 MKB
correspond with client concerning revised
complaint; edit draft complaint;

Aug-28-17 Review additional revisions and edits to amended _—_—‘1.50 1,012.50 JIC
compliant; conference with R. Berg and M. Bartley
re: same;
Revise draft complaint; meet with J. Carton and R. 2.75 1,787.50 MKB

Berg and review complaint; prepare to file
complaint; review correspondence from client;
review dates of service; review draft complaint;
correspond with client concerning revised
complaint;

Aug-29-17 Review ECF posting re: reset deadline for 0.20 135.00 JIC
defendant's answer; conference with R. Berg re:
same;

Sep-13-17 Teleconference with opposing counsel re: filing 0.25 168.75 JIC
motion to dismiss amended complaint;

Sep-14-17 Review Ford's motion to dismiss; discuss same 4.50 2,925.00 MKB
with R. Berg; begin review case of case law cited
by Ford;

Sep-15-17 Continue review of defendant's brief and case law; 3.00 1,950.00 MKB
discuss opposition with R. Berg;

’ Review motion to dismiss amended complaint; 3.50 2,362.50 RJB
conference with M. Bartley regarding same;

Sep-18-17 Research pleading issues; review final cases cited 8.30 5,395.00 MKB
by Ford; begin drafting opposition to motion to
dismiss;

Sep-19-17 - Discuss memo with R. Berg; continue drafting 3.50 2,275.00 MKB
opposition to motion to dismiss;
Invoice Case 1:17-cvi@@2@9@-LEK-DJS Document 65-2 Filed 10/21/20 Geaghera Hf2920

Assist with legal research and drafting of 5.50 3,712.50 RJB
opposition to motion to dismiss; conferences with
M. Bartley regarding same;

Sep-20-17 Revise draft motion to dismiss; discuss same with 8.30 5,395.00 MKB
R. Berg;

Sep-21-17 Research legal issues for opposition to motion to 7.50 4,875.00 MKB
dismiss; revise draft opposition to motion to
dismiss;

Sep-25-17 Revise draft opposition to motion to dismiss; 1.80 1,170.00 MKB
Extensive review and revisions to draft opposition 5.75 3,881.25 RJB

brief; review additional case law; conference with
J. Carton and M. Bartley;

Sep-27-17 Review motion to dismiss Amended Complaint; 5.75 3,881.25 JIC
review, edit and revise draft opposition brief;

Sep-28-17 Additional revisions to draft brief in opposition to 2.50 1,687.50 JIC
motion to dismiss amended complaint; conference
with M. Bartley re: same;

Review and edit draft opposition to motion to 1.50 975.00 MKB
dismiss;
Oct-02-17 Review correspondence from client concerning 3.00 1,950.00 MKB

draft opposition brief; further revise draft brief;

Oct-03-17 Review and edit draft opposition to Ford's motion to 1.50 975.00 MKB
dismiss; file same; correspond with client
concerning same;

Oct-10-17 Review reply brief on Ford's motion to dismiss 0.50 337.50 JIC
amended complaint;
Review Ford's reply brief; 0.50 325.00 MKB
Oct-17-17 Review authority provided by R. Berg; discuss 1.20 780.00 MKB

same with R. Berg;

Oct-20-17 Travel to/from Albany for oral argument; attend 10.00 6,500.00 MKB
court session; return to office;

Nov-07-17 Telephone call with client concerning case status; 0.60 390.00 MKB
Invoice Case 1:17-cvfa@296-LEK-DJS Document 65-2 Filed 10/21/20 Getberd f2820

Nov-28-17 Review correspondence from prospective class 0.60 390.00 MKB
member; telephone call with same; correspond
with same;

Dec-28-17 Telephone call with Class Member regarding 0.50 325.00 MKB
problems he's experienced with his F-150;

Dec-29-17 Correspond internally concerning call with Class 0.40 260.00 MKB
Member;

Jan-02-18 Telephone call with potential class member 0.50 325.00 MKB

concerning his F150's problems; correspond
internally concerning same;

Jan-15-18 Telephone call with plaintiff concerning case 0.30 195.00 MKB
status;

Jan-18-18 Telephone call with new Class Member regarding 0.60 390.00 MKB
his F-150 issues;

Jan-19-18 Telephone call with new Class Member regarding 0.60 390.00 MKB
F-150 accident;

Feb-12-18 Correspond with F-150 truck owner regarding his 0.40 260.00 MKB

frozen locks; ;

Feb-13-18 Correspond with potential class member regarding 0.30 195.00 MKB
his F-150's problems;

Mar-05-18 Correspond with potential plaintiff/class member 0.10 65.00 MKB
regarding his F-150 vehicle;

Jul-25-18 Telephone call with court clerk regarding status of 0.20 130.00 MKB
motion to dismiss;

Aug-06-18 Review decision re: motion to dismiss; conference 0.50 337.50 JIC
with team re: next steps and prospective litigation
strategy;
Conference with J. Carton and R. Berg regarding 3.50 2,275.00 MKB
decision and strategy;
Conference with M. Bartley and J. Carton 3.50 2,362.50 RJB
regarding RS conference

with M. Bartley regarding

Aug-09-18 Emails with P. Fazio (opposing counsel); 0.25 168.75 JIC

Aug-13-18 Teleconference with P. Fazio; 0.50 337.50 JIC
Invoice Case 1:17-cv-P@2969LEK-DJS Document 65-2 Filed 10/21/20 ®edgbei Bo2GH)

Review file; discuss same with R. Berg; 0.50 325.00 MKB
Aug-14-18 Telephone call with prospective plaintiff; 0.70 455.00 MKB
correspond with R. Berg and J. Carton concerning
same;
Aug-20-18 Review Answer and Affirmative Defenses filed by 0.50 337.50 JIC
Ford;
Review records; telephone call with B. Kommer; 3,75 2,437.50 MKB

correspond with R. Berg regarding case strategy;
review Ford's answer;

Aug-29-18 Meet with R. Berg and discuss case strategy; 2.00 1,300.00 MKB
research is
Conference with M. Bartley regarding discovery to 3.50 2,362.50 RJB

pursue and best path forward; review additional
Class Members' expenses and inquiries;

Sep-05-18 Review correspondence from prospective plaintiff; 0.30 195.00 MKB
correspond with same;

Oct-15-18 Review court order; review form civil case 1.00 650.00 MKB
management plan;

Oct-18-18 Teleconference w/ P. Fazio; conference with team 0.50 337.50 JIC
re: ligitation strategy;
Meet with J. Carton and R. Berg re mam 1.50 975.00 CDB
ee
ee

Oct-19-18 Review class action complaint. 1.50 975.00 CDB

Oct-22-18 Review class action complaint; 3.50 2,275.00 CDB
7

Oct-23-18 Prepare exhibit A to civil discovery plan; review 2.00 1,300.00 MKB

letter motion to court; discuss draft civil discovery
plan with R. Berg;

Oct-24-18 Revise draft civil discovery plan; discuss same 1.00 650.00 MKB
with R. Berg;

Review draft civil discovery plan; conference with 1.00 675.00 RJB
M. Bartley regarding same;
Invoice Case 1:17-cv-PAR96FK0DEK-DJS Document 65-2 Filed 10/21/20 @ttobed 028

Nov-06-18 Teleconference with P. Fazio; 0.25 168.75 JIC

Revise draft civil case management order; 3.20 2,080.00 MKB
correspond with P. Fazio regarding same;

Nov-07-18 Review and comment on proposed civil case 3,50 2,275.00 CDB
management plan; meet with M. Bartley to discuss
same; phone conference with defense counsel re
case management plan;

Nov-08-18 Correspond with P. Fazio regarding civil case 4,30 2,795.00 MKB
management order; review draft order; revise
same; discuss with C. Barraza; telephone call with
P. Fazio regarding meet and confer regarding order;
review redline; discuss same with J. Carton;

Nov-09-18 Review draft Scheduling Order; conference with C. 1.50 1,012.50 JIC
Barraza re: same;

Review and comment on revised proposed civil 4,75 3,087.50 CDB
case management; prepare for and participate in

conference call with opposing counsel re same;

analyze Ford's initial disclosures;

Review draft civil case management plan proposed 3.80 2,470.00 MKB
by Ford; conference call with P. Fazio and C.

Barraza; review and edit revised Case

Management Plan; discuss same with C. Barraza;

Nov-12-18 Review Ford's initial disclosures and discuss same 1.50 975.00 CDB
with M. Bartley; Meet with M. Bartley regarding
Rule 16 conference;

Nov-13-18 Review Ford's initial disclosures; prepare for 5.00 3,250.00 MKB
conference call with magistrate to discuss civil
case management plan; meet with R. Berg and C.
Barraza to discuss same;

Nov-15-18 Participate in Rule 16(f) conference; discuss case 1.75 1,137.50 CDB
theory with M. Bartley;

Nov-16-18 Prepare for conference call with US Magistrate; 1.20 780.00 MKB
participate in conference call with US Magistrate
and defense counsel regarding Rule 16 conference;

Nov-19-18 Draft document requests and interrogatories; 5.50 3,575.00 CDB
Correspond with potential plaintiffs;
Invoice Case 1:17-cv-PAR96HLEK-DJS Document 65-2 Filed 10/21/20 Oaobei Bore

Nov-20-18 Revise draft document requests; telephone call 4.75 3,087.50 CDB
with Class Members, regarding his F-150
problems;

Nov-26-18 Meet with R. Berg and M. Bartley re discovery 3.75 2,437.50 CDB

strategy; phone call with as

meeting with J. Carton re same; revise discovery

requests;
Discuss discovery with C. Barraza; 0.30 195.00 MKB
Nov-27-18 Meet with C. Barraza and R. Berg regarding draft 4.60 2,990.00 MKB

discovery requests; continued research summary
judgment standard;

Nov-28-18 Telephone call with B. Kommer regarding Hii 3.50 2,275.00 MKB
es cevicw

letter from Ford to Mr. Kommer; discuss same
with R. Berg and C. Barraza; research
ME correspond with MM regarding
discovery;

Lengthy conference with team regarding draft 2.50 1,687.50 RJB
discovery to propound;

Nov-29-18 Participate in conference call with R. Berg, C. 6.50 4,225.00 MKB

Baraza, 2nd ET regain STI
MEE brief J. Carton regarding same; research

a

nn
Nov-30-18 Revise discovery requests; 1.50 975.00 CDB
Dec-04-18 Review draft discovery requests; discuss same 2.80 1,820.00 MKB

with R. Berg and C. Barraza; discuss discovery
review with J. Tiburizi;

Dec-05-18 Revise discovery requests; 3.00 1,950.00 CDB
Coordinate with C. Barraza and J. Tiburzi 5.20 3,380.00 MKB
regarding potential ediscovery vendor; review
a
a

Dec-06-18 Prepare for call with potential ediscovery vendor; — 2.20 1,430.00 MKB

particiapte in conference call; review draft
discovery protocol;
Invoice Case 1:17-cvRag29G2.EK-DJS Document 65-2 Filed 10/21/20 tage B02

Dec-10-18 Edit/revise draft discovery demands 4.50 3,037.50 JIC
(interrogatories and document demands)
propounded upon Ford; conference with C. Barraza
and M. Bartley re: same;

Email re discovery requests; finalize discovery 2.75 1,787.50 CDB
requests; send to defense counsel;

Dec-11-18 Discuss discovery strategy with C. Barraza; review 0.50 325.00 MKB
draft email to P. Fazio concerning same;

Dec-12-18 Review correspondence with defense counsel 0.20 130.00 MKB
regarding ESI protocol;

Dec-13-18 Correspond with potential plaintiff regarding his 2.50 1,625.00 MKB
F-150 problems; prepare summary of call;

Dec-14-18 Review EE; review correspondence 1.50 975.00 MKB
regarding same;

Decl? 1S mmm 5.75 3,737.50 CDB
re
re
a
Correspond with P. Fazio regarding extension of 3.50 2,275.00 MKB
time to respond to discovery and ESI protocol meet
and confer; review documents concerning F-150
recall:

Dec-18-18 ee 3.75 2,437.50 CDB
HR email to J. Carton et al. re same;
ee
a
Review correspondence regarding MMM review 2.00 1,300.00 MKB
additional materials regarding F-150 recall;

Dec-21-18 Telephone call with a F-150 owner; prepare 1.20 780.00 MKB
summary of call;

Dec-28-18 0.40 260.00 CDB

Jan-02-19 Telephone call with Class Member; prepare 4.50 2,925.00 MKB

summary of same; prepare overview of list of
potential plaintiffs; discuss discovery issues with C.
Barraza;

Jan-03-19 Phone discussion with 4.75 3,087.50 CDB
Invoice Case 1:17-cv-Bg2961BEK-DJS Document 65-2 Filed 10/21/20 @adbed oie

Ree follow up email re same;
discuss i with M. Bartley; il

Meet with C. Barraza and R. Berg regarding 3.50 2,275.00 MKB
discovery strategy; discuss same with J. Carton;

a ; ieet with R. Berg regarding

researching class certification motions;

Conference (lengthy) with litigation team regarding 3.50 2,362.50 RJB
discovery, additional states/expanded class and
a:

ln-07-19 res: 1.90 1,235.00 CDB
Review correspondence regarding x; 93.10 2,015.00 MKB

research class certification issues;

Jan-08-19 Emails with P. Fazio re: settlement meeting; 0.50 337.50 JIC
review list of other affected Ford owners;

Jan-11-19 Telephone call with a potential plaintiff: prepare 3.00 1,950.00 MKB
summary of call; correspond with additional
potential plaintif?, [aa
fe

Jan-14-19 Telephone call with Class Member regarding his 3.75 2,437.50 MKB
F-150 issues; review pictures and receipts; prepare
summary of report; telephone call with additional
class member regarding his F-150 issues; prepare
summary of same;

Jan-15-19 FINE discuss 0.75 487.50 CDB

ESI protocol and draft protective order with M.
Bartley;

Discuss case strategy with C. Barraza; ii 0.75 487.50 MKB
EE, correspond with Ford's

counsel concerning discovery;

Jan-18-19 Correspond with P. Fazio regarding discovery 5.80 3,770.00 MKB
issues; continue researching class certification
issues;

Jan-21-19 Read email from M. Bartley re: customer 0.20 130.00 CDB
complaints;
Telephone call with class member; prepare 1.80 1,170.00 MKB

summary of call; telephone call with class
Invoice Case 1:17-cv-PAR96HLEK-DJS Document 65-2 Filed 10/21/20 Odoled Do2?ey

member ; prepare summary of call; correspond
with P. Fazio regarding discovery call;

Jan-22-19 De = 2.5) 1,625.00 CDB

BE. email regarding scheduling discovery
meet and confer with opposing counsel;

Jan-23-19 Telephone call with class member; prepare 0.80 520.00 MKB
summary of call and distribute to team;

Jan-24-19 Email re: scheduling ESI meet and confer with 0.10 65.00 CDB
opposing counsel;

Jan-25-19 Meet and confer conference call re: ES] protocol, 3,50 2,275.00 CDB
protective order; review and comment on proposed
protective order; review and comment on revised

ESI protocol;
Participate in conference call with Ford's counsel 2.00 1,300.00 MKB
regarding discovery; review proposed changed to
ESI protocol;
Jan-28-19 Correspond with potential plaintiff} correspond with 0.30 195.00 MKB

P. Fazio regarding discovery call; discuss
ediscovery with A. Wallace;

Jan-29-19 Telephone cali with class member; prepare 1.00 650.00 — MKB
summary of call;
Jan-30-19 Prepare summary of call with potential plaintiff; 0.50 325.00 MKB
Jan-31-19 Correspond with potential plaintiff; 0.20 130.00 MKB
Feb-01-19 ESI protocol phone conference with opposing 0.40 260.00 CDB
counsel;
Discuss draft ESI protocol with A. Wallace; 3.00 1,950.00 MKB

prepare for conference call with Ford's counsel;
participate in conference call regarding ESI
protocol; review draft protective order; revise same
and correspond with Ford's counsel concerning
same; telephone calls with potential plaintiffs;
prepare summaries of such calls;

Feb-04-19 Review correspondence from Mi re ESI 1.20 780.00 MKB
protocol; review proposed changes;
Invoice Case 1:17-cv-B@R961KEK-DJS Document 65-2 Filed 10/21/20 @egbeil Bo2GD

Feb-05-19 Discuss discovery issuse with A. Wallace; review 1.50 975.00 MKB
ESI protocol;

Feb-07-19 Telephone call with potential plaintiff; 0.40 260.00 MKB

Feb-08-19 Review Ford's discovery responses; review 1.50 1,012.50 JIC

additional class members' complaints;

Telephone call with class member; draft summary — 1.20 780.00 MKB
of same; prepare summary of call with potential
plaintiff; prepare summary of same;

Feb-11-19 Analyze Ford discovery responses; 1.20 780.00 CDB

Review Ford's responses and objections to 2.10 1,365.00 MKB
plaintiff's discovery requests;

Feb-12-19 Conference with M. Bartley and R. Berg re: 3.50 2,362.50 JIC
CS 2nd draft letter to

opposing counsel;

Correspond with potential plaintiff; discuss Ford's 2.00 1,300.00 MKB
responses and objections to plaintiff's discovery

requests with R. Berg and C. Barraza; correspond

with P. Fazio concerning same; meet with R. Berg

and C. Barraza to discuss strategy; draft letter to P.

Fazio;

Conference (lengthy) with J. Carton and M. Bartley 3.75 2,531.25 RJB

regarding aaa
a

Feb-13-19 Edit/revise draft correspondence to P. Fazio re: 0.75 506.25 JIC
motion to amend complaint; teleconference with
prospective Ohio plaintiff;

Telephone call with class member regarding his 2.60 1,690.00 MKB
F-150; prepare letter to P. Fazio regarding
amending complaint;

Feb-14-19 Review summary of client contact; review 0.70 455.00 MKB
correspondence from Ford's counsel regarding ESI
protocol;

Feb-20-19 Edit/revise draft correspondence to Magistrate 0.75 506.25 JIC

Stewart re: permission to amend complaint to add
additional class representatives;
Invoice Case 1:17-cv-PaR96FKEK-DJS Document 65-2 Filed 10/21/20 acted 50285)

Phone conference with opposing counsel re: 0.30 195.00 CDB
revisions to protective order;

Conference with J. Carton regarding seeking lease ‘1.50 1,012.50 RJB
to amend complaint; review draft correspondence;

Feb-21-19 Edit/revise/finalize draft correspondence to 1,00 675.00 JIC
Magistrate re: request for pre-motion conference to
amend complaint;

Review draft letter to magistrate regarding 0.70 455.00 MKB
pre-motion conference;

Feb-22-19 Review ECF notice of teleconference with 0.20 135.00 JIC
Magistrate Stewart re: request to amend complaint;

Conference call with opposing counsel re: revisions 0.60 390.00 CDB
to protective order;

Prepare for conference call regarding ESI protocol 5.50 3,575.00 MKB
and protective order; review case law regarding

|
Feb-25-19 Review defendant's discovery requests; 0.50 325.00 CDB
Feb-26-19 Review Ford's interrogatories and document 1.00 650.00 MKB
requests;
Feb-27-19 Review draft statutes report; discuss same with R. 2.50 1,625.00 MKB

Berg and C. Barraza; revise same; prepare
response regarding proposed protective order;
prepare summaries of calls with potential class
members;

Conference with M. Bartley and C. Barraza; 3.50 2,362.50 RJB
edit/revise draft status report; review additional,

prospective class representatives experience and

claims;

Feb-28-19 Review and comment on joint status report; 0.50 325.00 CDB
conference call with opposing counsel re: same;

Prepare for call with Ford's counsel; review redline 2.00 1,300.00 MKB
of joint status letter; revise same; participate in

conference call with Ford's counsel concerning

same and regarding
Invoice Case 1:17-cvi@Q@294G-LEK-DJS Document 65-2 Filed 10/21/20 ®agbeil 85028)

protective order; correspond with Ford's counsel
regarding protective order;

Mar-03-19 Legal research rc: 1.20 780.00 CDB
a

Mar-04-19 Review ECF posted response to pre-motion 0.50 337.50 JIC
conference; conference with C. Barraza and M.
Bartley re: whether to reply or await
teleconference;

Read case law cited by Ford, case law provided by 3.75 2,437.50 CDB

M. Bartley; memo to file re:
ae

Telephone call with class member regarding F-150; 3.60 2,340.00 MKB
prepare summary of call; review correspondence

regarding upcoming argument; prepare for

argument;

Mar-06-19 Attend teleconference with Judge Stewart re: 1.75 1,181.25 JIC
request to amend complaint; conference with M.
Bartley regarding same;

Prepare for oral argument; participate in oral 3.50 2,275.00 MKB
argument before Magistrate Stewart; contact
potential class members;

Mar-07-19 Telephone call with class member regarding 3.50 2,275.00 MKB
working as class representative; i

Mar-08-19 Continue research concerning iq 4.50 2,925.00 MKB

ME: review draft protective order;

 

 

Mar-11-19 Continue research concerning xy
MME, review draft protective order; correspond
and communicate with potential class
representatives;

4.90 3,185.00 MKB

Mar-12-19 Prepare for call with Ford's counsel regarding 1.00 650.00 MKB
protective order; participate in call; il

Ge correspond with potential

plaintiffs concerning same;

Mar-13-19 Review final letter, ESI protocol, and 1.20 780.00 MKB
Invoice Case 1:17-cvfage94S_EK-DJS Document 65-2 Filed 10/21/20 G@tagieed p29

protective order from Ford; correspond with
prospective class plaintiff

Mar-14-19 Review correspondence from clients; 1.50 975.00 MKB
Mar-15-19 Correspond with potential class reps; 0.40 260.00 MKB
Mar-18-19 Meet with J. Carton and R. Berg regarding 0.60 390.00 MKB

responding to plaintiff's questions; telephone call
with R. Berg to prospective class representative;

Mar-19-19 Research Ie 4.90 3,185.00 MKB
EE, continue to correspond with

potential class representatives;

Mar-20-19 Review maintenance records of potential new lead 0.50 325.00 CDB
plaintiff;
Draft memorandum of law in support of motionto 5.50 3,575.00 MKB
amend complaint; begin drafting amended
complaint;

Mar-2 1-19 Revise draft complaint; revise draft memorandum 9.40 6,110.00 MKB

of law in support of motion to amend; correspond
with prospective class representatives;

Ee, ©eView maintenance records

from class representatives;

Edit/revise draft amended complaint and brief in 3.75 2,531.25 RJB
support of same; conference with M. Bartley
regarding same;

Mar-22-19 Edit/revise draft Second Amended Complaint; 2.50 1,687.50 JIC
conference with M. Bartley re: same;

Revise draft memorandum of law in support of 9.50 6,175.00 MKB
motion to amend complaint; revise draft second

amended complaint; correspond with clients

regarding factual issues;

Mar-23-19 Revise draft second amended complaint; 1.60 1,040.00 MKB
correspond internally concerning same;

Extensive review (and revisions to) draft brief in 4,50 3,037.50 RJB
support of motion to amend complaint and draft

amended complaint; conference with J. Carton and

M. Bartley regarding same;
Invoice

Mar-25-19

Mar-26-19

Mar-27-19

Mar-28-19

Mar-29-19

Apr-01-19

Apr-02-19

Apr-04-19

Apr-07-19
Apr-08-19

Apr-09-19

Apr-10-19

Continue to revise draft memorandum of law in
support of motion to amend and SAC; correspond
with class representatives regarding case;

Review/revise draft brief in support of motion to
amend complaint;

Telephone call with B. Kommer; revise SAC;
revise memorandum of law;

Edit/ revise draft brief in support of motion to
amend complaint;

Revise draft second amended complaint; revise
memorandum of law in support of motion to amend
complaint; prepare affidavit in support of motion;
prepare notice of motion; telephone call with B.
Kommer regarding same;

Telephone call with P. Fazio regarding tolling

agreement; research

Prepare responses and objections to Ford's
interrogatories and document requests;

Follow up with P. Fazio regarding tolling
agreement;

Correspond with gM regarding motion to
amend complaint;

Telephone call with B. Kommer regarding
discovery;

Revise draft discoverry responses;
Revise discovery responses;

Revise draft responses and objections to Ford's
discovery requests; revise draft interrogatory
responses; conference with R. Berg regarding
same;

Review working drafts of responses and objections
to Ford's discovery demands; conference with M.
Bartley regarding same;

Compose email to prospective Ohio counsel;

8.10 5,265.00

2.50 1,687.50

4.80 3,120.00

3.00 2,025.00

7.50 4,875.00

4.50 2,925.00

8.10 5,265.00

0.20 130.00
0.30 195.00
0.50 325.00
0.50 325.00

2.90 1,885.00

4.10 2,665.00

2.50 1,687.50

0.50 337.50

Case 1:17-cv-B@2261bEK-DJS Document 65-2 Filed 10/21/20 Sagbe2 502GH

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RJB

JIC
Invoice Case 1:17-cvRR29@0¢EK-DJS Document 65-2 Filed 10/21/20 ®agbe? 502m

conference with M. Bartley and R. Berg re: same;

Revise draft interrogatory responses; telephone call 4.80 3,120.00 MKB
with P. Fazio regarding tolling agreement;

telephone call with class member regarding new

comp|aint; a

MEE, ¢eview Ford's opposition to

motion for leave to file SAC;

Apr-1 1-19 Draft complaint for Ohio lawsuit; 3.20 2,080.00 MKB

Apr-12-19 Revise draft complaint for Ohio; correspond with 2.50 1,625.00 MKB
client concerning same; correspond with local
counsel regarding draft complaint; telephone call
with local counsel concerning same;

Apr-15-19 Revise draft complaint; prepare exhibits; prepare 3.90 2,535.00 MKB
civil cover sheet; prepare summons; correspond
with local counsel regarding filing complaint;

Review Ohio draft complaint; conference with M. — 1.75 1,181.25 RJB
Bartley and J. Carton regarding same;

Apr-16-19 Telephone call with local counsel regarding filing 3.90 2,535.00 MKB
complaint; finalize discovery responses;
correspond internally concerning same;

Apr-17-19 Review Ford's opposition to motion to amend; draft 0.75 506.25 JIC
email to P. Fazio re: settlement;
Review correspondence with P. Fazio; 0.30 195.00 MKB
Apr-18-19 Meet with iE vec arding 1.10 715.00 MKB
; e-discovery;
Apr-22-19 Revise draft discovery responses; discuss Ford 4.50 2,925.00 MKB

letter to R. Kommer with J. Carton and R. Berg;

Apr-23-19 Discuss case strategy with R. Berg; review recall 2.50 1,625.00 MKB
notice; discuss case with J. Carton; correspond with
client;
Conference with M. Bartley regarding approach to —‘1.50 1,012.50 RJB

discovery and overall case strategy;
Invoice
Apr-24-19
Apr-25-19

Apr-26-19

May-01-19

May-02-19
May-07-19

May-08-19

May-(9-19

May-10-19

May-14-19
May-15-19
May-16-19

May-17-19

May-20-19

May-21-19

Case 1:17-cv@29@4LEK-DJS Document 65-2

Discuss strategy with C. Barraza; discuss
discovery responses with R. Berg;

Telephone call with R. Kommer; discuss Ford's
form letters with R. Berg;

Research [aa
SEMEN View correspondence

from client regarding Ford's customer satisfaction
program;

 
 

Review letter from Ford;

Correspond internally regarding discovery
responses;

Begin review of Ford's document production;
correspond with client concerning case status;

Edit/revise draft discovery responses; conferences
with M. Bartley re: same;

Revise draft discovery requests; continue
reviewing documents;

Continue review of Ford's document production;

Begin review of Ford's document production;

Continue to review Ford's document production;

Finalize draft discovery responses; correspond with
client concerning same;

Correspond with M. Lueder regarding service;
correspond internally concerning same;

Telephone call with B. Kommer regarding
discovery; continue to review document production;

Prepare Kommer's document for production;
continue to review Ford's document production;
correspond with P. Fazio regarding document
production;

Finalize Kommer's responses and objections to
Ford's document requests; draft letter to P.

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3.60

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2,340.00

1,181.25

3,185.00

3,185.00

5,737.50

3,380.00

780.00

325.00

3,575.00

5,265.00

3,250.00

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JIC

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RJB

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Fazio; continue to review Ford's document

production;
May-22-19 Review Ford document production; 6.00 3,900.00 MKB
Continue review of Ford's documents; create "hot" 9.00 6,075.00 RJB

documents for future proceedings; multiple
conferences with J. Carton and M. Bartley
regarding same;

May-23-19 Review Ford's document production; 8.00 5,200.00 MKB

Continue review of Ford's production; conference 9.50 6,412.50 RJB
with M. Bartley and J. Carton regarding same;

May-24-19 Review Ford's document production; 8.00 5,200.00 MKB
May-28-19 Review Ford's document production; 8.60 5,590.00 MKB
Continue review of Ford's documents; 7.50 5,062.50 RJB
May-29-19 Review Ford documents; 6.90 4,485.00 MKB
Continue (lengthy) review of Ford technical bulletin 10.00 6,750.00 RJB

and internal emails regarding latch defects; flag
documents for future use; conference with M.
Bartley regarding same;

May-30-19. Continue reviewing Ford's document production; 1.20 780.00 MKB

Jun-04-19 Revise and edit draft letter to Magistrate Stewart; 7.50 4,875.00 MKB
discuss same with J. Carton; discuss case strategy
with R. Berg; continue to review Ford's document
production;

Conference with litigation team regarding 3.50 2,362.50 RJB
highlights of Ford's production and strategy moving
forward;

Jun-06-19 Continue reviewing Ford's document production; 4.10 2,665.00 MKB

review correspondence from Ford;

Jun-10-19 Review Ford's discovery letter; discuss same with 5.50 3,575.00 MKB
R. Berg; review Kommer's discovery responses
and document production; research iii:
begin drafting response to Ford's letter;
Invoice Case 1:17-cv¥@Q29@3-_EK-DJS Document 65-2 Filed 10/21/20 ®dgee2io2en

Continue (lengthy) review of next batch of 8.75 5,906.25 RJB
documents produced by Ford; conference with M.

Bartley regarding same; begin creating chronology
of

Jun-11-19 Continue document review; revise draft letter 7.50 4,875.00 MKB
responding to Ford's June 7, 2019 letter;

Jun-12-19 Revise draft letter responding to Ford's June 6, 2019 3.90 2,535.00 MKB
letter; continue to review Ford's document
production;

Jun-13-19 Teleconference w/ P. Fazio; edit/revise draft 0.75 506.25 HC
correspondence regarding discovery;
Revise draft letter to P. Fazio; 1.00 650.00 MKB

Jun-14-19 Prepare for conference call with Ford's counsel 4.00 2,600.00 MKB
regarding discovery; telephone call with R. Berg
regarding same; correspond with R. Kommer

regarding same; research JT

——— 7.50 4,875.00 = MKB
continue reviewing Ford's
document production; correspond with Ford
concerning its document production; telephone call
with client concerning discovery;

Jun-18-19 Research re: Si; 3.20 2,080.00 CDB
Continue to review Ford's document production; 7.40 4,810.00 MKB
Continue drafting chronology 0f iii 9.00 6,075.00 RJB
Pe
ee

Jun-19-19 Review Order re: denying motion to amend 2.75 1,856.25 JIC

complaint; review [iii
es: emails with

P. Fazio re: same;

Discuss iM with J. Carton; review 3.50 2,275.00 CDB
Ford discovery responses for relevant information;
review Ford documents;

Continue to review Ford's document 8.20 5,330.00 MKB
Invoice Case 1:17-cvi@@29@4. EK-DJS Document 65-2 Filed 10/21/20 @agbe2 bores)

production; review correspondence from P. Fazio
regarding extending the discovery cut-off deadline;
revise letter; discuss with R. Berg;

Jun-20-19 Emails with P. Fazio; conference with team re: 2.75 1,856.25 JIC
es: ccvicw
Se

Telephone call with P. Fazio regarding letter to 8.30 5,395.00 MKB
court; meet with J. Carton, R. Berg, and C. Barraza

regarding ME: continue to review

Ford's document production;

  
 

Conference with litigation team; review decision 7.50 5,062.50 RJB
regarding motion to amend; continue review of
Ford's documents;

Jun-21-19 Emails with P. Fazio; review ECF posting from 0.25 168.75 JIC
Judge Stewart;

Continue to review Ford's document production; 1.50 975.00 MKB
discuss same with R. Berg;

Continue drafting chronology and use of "hot" 8.50 5,737.50 RJB
documents; conference (x3) with M. Bartley;

conference with J. Carton regarding approach to

further litigation;

Jun-24-19 Prepare supplemental discovery responses; 4.00 2,600.00 MKB
continue to review Ford's document production;

Jun-25-19 Refine/revise draft settlement construct; 0.50 337.50 JIC

Revised draft discovery resposnes; discuss same 7.40 4,810.00 MKB
with B. Berg; correspond with client concerning
same; continue document review;

Jun-26-19 Revise script and teleconference (lengthy) with P. 1.50 1,012.50 JIC
Fazio re: prospective settlement;

Jun-28-19 Participate in conference call with Ford's counsel 8.00 5,200.00 MKB
and court; telephone call with class members
regarding court's decision to deny motion to amend
complaint; continue to review Ford's document
production;

Jul-01-19 Continue to review Ford's document production; 4.90 3,185.00 MKB
Invoice Case 1:17-cv-Ba2262KEK-DJS Document 65-2 Filed 10/21/20 Oagbe2 S02G

Jul-03-19 Continue to review Ford's document production; 8.20 5,330.00 MKB
Jul-08-19 Continued review of Ford's document production; 8.00 5,200.00 MKB
Multiple conferences with M. Bartley regarding 9,00 6,075.00 RJB

coordinated approach to review of Ford's
documents and integration of one another's
discovery and impressions;

Jul-10-19 Prepare for in-person settlement conference; 3.00 2,025.00 JIC
review scripted remarks for same;

Jul-11-19 Settlement conference with P. Fazio, C. Halseth 4.50 3,037.50 JIC
and S. Hammack;

Jul-12-19 Multiple emails and conferences with R. Berg and 1.50 1,012.50 JIC
M. Bartley re: strategy;

Jul-16-19 Research prospective mediators; email to P. Fazio 0.75 506.25 JIC
with prospective selections;

Jul-18-19 Email to P. Fazio regarding mediators; 0.20 135.00 JIC

Jul-23-19 Emails with P. Fazio and S. Hammack; 0.20 135.00 JIC

Aug-07-19 Teleconference with JAMS regarding Geronemus' 0.30 202.50 JIC

\ availability; emails regarding same;

4

Aug-08-19 Review Ohio Judge's show cause order; emails 0.25 168.75 JIC
with R. Berg and M. Bartley regarding same;

Aug-09-19 Email to P. Fazio regarding need to serve Ohio 0.25 168.75 JIC
complaint in light of Court's Order to Show Cause;

Aug-16-19 Emails with P. Fazio regarding settlement and 0.25 168.75 JIC
mediators;
Correspond with Ohio local counsel regarding 0.20 130.00 MKB

responding to order to show cause;

Sep-06-19 Emails with R. Berg regarding dismissal of 0.20 135.00 Jic
Flannery action;

Sep-10-19 Teleconference with P. Fazio; email to JAMS 0.50 337.50 HC
regarding Geronemus' availability;
Invoice Case 1:17-cv-B@29626EK-DJS Document 65-2 Filed 10/21/20 ®agbe2 502G)

Sep-13-19 Emails with P. Fazio; review email from JAMS 0.25 168.75 JIC
regarding Geronemus' availability;

Sep-17-19 Edit/revise draft mediation case information 0.25 168.75 JIC
statement; forward same to P. Fazio;

Sep-23-19 Teleconference with P. Fazio; review proposed 0.50 337.50 JIC
revisions to draft Information Statement for JAMS;

Sep-25-19 Emails with JAMS regarding mediation; 0.75 506.25 JIC
conference with R. Berg regarding prospective
depositions of Ford's representatives;

Conference with J. Carton; review slate of 7.50 5,062.50 RJB
prospective mediators; review hot documents and
begin organization for deposition of corporate

representative;
Sep-27-19 Review Ford documents; 1.80 1,170.00 CDB
Oct-01-19 Teleconference with P. Fazio regarding settlement 0.50 337.50 JIC

construct and counterproposal; review and finalize
deposition notices;

Oct-07-19 Draft correspondence to Magistrate regarding 0.50 337.50 JIC
discovery extension;

Oct-08-19 Edit/revise draft letter to Magistrate; forward same 0.50 337.50 JIC
to P. Fazio;

Oct-09-19 Review Ford documents; 2.50 1,625.00 CDB
Continue to organize and catalogue most useful 8.50 5,737.50 RJB

documents; conference (x3) with J. Carton
regarding anticipated preparation of R. Kommer
and likely areas of examination;

Oct-10-19 Teleconference with P. Fazio; revise draft letter to 0.50 337.50 JIC
Judge Stewart; finalize and ECF file;

Oct-11-19 Begin extensive review of file in anticipation of 7.50 5,062.50 JIC
Kommer deposition;

Oct-14-19 Lengthy file review regarding preparation for 6.50 4,387.50 JIC
upcoming deposition of B. Kommer;

Oct-15-19 Review ECF posting regarding new scheduling 2.50 1,687.50 JIC
order; review documents produced by Ford; emails
with P. Fazio regarding deposition;
Invoice Case 1:17-cvR29@LEK-DJS Document 65-2 Filed 10/21/20 @agbe28502GH

Oct-18-19 Continue file review and prep for Kommer 6.75 4,556.25 JIC
deposition (and preparation);

Oct-21-19 Prep B. Kommer for deposition; 8.50 5,737.50 JIC
ee

edit/revise draft mediation statement;

Prepare mediation statement; meet with JIC re: 2.40 1,560.00 CDB
same; revise mediation statement per comments
from J. Carton;

Oct-22-19 Defend B. Kommer deposition; conference with B. 6.50 4,387.50 JIC
Kommer regarding same;

Oct-24-19 Prepare for teleconference with Mediator 1.50 1,012.50 JIC
Geronemus; review agenda for call;

Oct-25-19 Teleconference with Mediator Geronemus; begin 4.75 3,206.25 JIC
drafting mediation statement and proposed
settlement construct;

Oct-28-19 Draft, edit and revise mediation statement; extract 6.50 4,387.50 JIC
useful emails from Ford's production;

Oct-29-19 Edit/revise draft mediation statement; review 4.00 2,700.00 JIC
additional documents from Ford's production;
revise settlement construct;

Oct-30-19 Continue work on draft mediation statement; 1.50 1,012.50 JIC
Oct-31-19 Continue revisions to draft mediation statement; 2.50 1,687.50 JC
emails with P. Fazio;
Nov-01-19 Teleconference with client regarding participation 0.50 337.50 JIC
in mediation; review materials regarding
mediation;
Nov-07-19 Teleconference with P. Fazio; 0.30 202.50 JIC
Nov-08-19 Teleconference with R. Kommer; emails with 2.50 1,687.50 JIC

class member regarding recent frozen latches;
review Ford's response and objection to the 30(b)(6)
deposition notice;

Nov-19-19 Edit/revise/finalize mediation statement and 4.50 3,037.50 JIC
exhibits; draft transmittal letter to Mediator
Geronemus;

Nov-22-19 Prepare for upcoming mediation; review multiple 5.00 3,375.00 JIC

materials for same;
Invoice Case 1:17-cv-Pag962RBEK-DJS Document 65-2 Filed 10/21/20 Ogle? 950285)

Conference (x3) with J. Carton; assist preparations 3.50 2,362.50 RJB
for upcoming mediation;

Nov-25-19 Final preparations for mediation; review all prior 4.50 3,037.50 JIC
settlement materials; review prior Ford class action
settlements; review mediation statement; draft
talking points and responses to anticipated
objections;

Lengthy conference with J. Carton regarding 4.50 3,037.50 RJB
anticipated mediation and likely inquiries (and
responses) from mediator.;

Nov-26-19 Mediation at JAMS with D. Geronemus; 10.00 6,750.00 JIC
conference with B. Kommer regarding same;
Participate in mediation with Mediator 10.00 6,750.00 RJB
Geronemus;

Nov-27-19 File review regarding additional materials required 1.50 1,012.50 JIC
for expanded class and anticipated draft settlement
agreement;

Dec-02-19 Draft correspondence to Judge Stewart; review 1.50 1,012.50 JIC

potential models for settlement agreement;

Dec-03-19 Edit/revise draft letter to Judge Stewart; email P. 0.25 168.75 JIC
Fazio regarding same;

Dec-04-19 Teleconference with P, Fazio; edit/revise draft 0.50 337.50 JIC
letter to Magistrate Stewart and ECF file same;

Dec-05-19 Emails with opposing counsel and prospective 0.50 337.50 JIC
Claims Administrator;

Dec-06-19 Teleconference with D. Isaac regarding 0.75 506.25 JIC
prospective settlement administrator;
teleconference with D. Kaufman regarding same;

Dec-10-19 Review ECF posting of deadline for preliminary 0.25 168.75 JIC
approval filing; conference with R. Berg regarding
same;

Dec-12-19 Emails with prospective class member regarding 0.50 337.50 JIC

continued difficulties with door latches;

Dec-13-19 Conference with D. Isaac regarding prospective 1.75 1,181.25 JIC
settlement administrator; review Heffler Claims
proposal regarding same;
Invoice Case 1:17-cv-B@R9622REK-DJS Document 65-2 Filed 10/21/20 ®etgbeBO5o2@

Conference with potential administrator; 1.50 1,012.50 RJB
conference with J. Carton regarding same;

Jan-06-20 Review detailed Settlement Administrator's 0.75 506.25 JIC
proposal; email to S. Hammack and P. Fazio
regarding same;

Jan-08-20 Emails with opposing counsel regarding settlement 0.50 337.50 JIC
administrator;

Jan-14-20 Teleconference with S. Hammack and P. Fazio 1.50 1,012.50 JIC
regarding settlement mechanics, selection of
administrator and settlement terms; conference
with R. Berg regarding same and amended
complaint and draft preliminary approval brief;

Multiple conferences with J. Carton; draft 6.50 4,387.50 RJB
Amended Complaint; begin organizing approach to
preliminary approval brief;

Jan-15-20 Review sections of draft brief in support of 2.50 1,687.50 JIC
preliminary approval; emails with class member
regarding difficulties with door latch;

Continue drafting brief in support of motion for 5.75 3,881.25 RJB
preliminary approval; conference with J. Carton
regarding same;

Jan-17-20 Review/edit/revise draft Settlement Agreement; 2.75 1,856.25 JIC

Jan-21-20 Edit/revise draft Amended Complaint; edit/revise 2.50 1,687.50 JIC
: draft Settlement Agreement; conference with R.
Berg regarding same;

Continue drafting (and revising) amended 6.50 4,387.50 RJB
complaint and preliminary approval brief;
conference with J. Carton regarding same;

Jan-22-20 Conference with R. Berg regarding sections of 1.75 1,181.25 JIC
preliminary approval brief; emails with D.
Kaufman at Heffler Claims; review draft Second
Amended Complaint;

Jan-24-20 Review recent case law regarding 5.50 3,712.50 RJB
| a
Jan-27-20 Edit/revise draft brief in support of motion for 4.75 3,206.25 JIC

preliminary approval; conference with R. Berg
regarding same;
Invoice Case 1:17-cvag2e9G@EK-DJS Document 65-2 Filed 10/21/20 OagbeB LSo2GH)

Continue revising all papers in support of 6.75 4,556.25 RJB
preliminary approval; conference with J. Carton
regarding same;

Jan-28-20 Emails with S. Hammack; draft letter to Judge 0.50 337.50 JIC

Kahn regarding brief extension of time in which to
submit preliminary approval motion;

Jan-29-20 Conference with R. Berg regarding class member's 0.50 337.50 JIC
experience in Syracuse and notice to Ford;

Teleconference with prospective class member; 3.50 2,362.50 RJB
conference with J. Carton; draft file memo
regarding same;

Feb-03-20 Teleconference with S. Hammack regarding open 1.00 675.00 JIC
issues concerning settlement and motion for
preliminary approval; draft letter to B. Kommer

regarding a:

Feb-07-20 Review S. Hammack's edits and revisions to draft 1.50 1,012.50 JIC
amended complaint and settlement agreement;
emails with S. Hammack; conference with R. Berg
regarding selection of administrator'

» Conference with J. Carton; review settlement 1.50 1,012.50 RJB
administrator's proposal;

Feb-10-20 Conference with D, Isaac regarding selection of 0.75 506.25 JIC
Settlement Administrator; review revised proposal;

Conference with prospective settlement 1.75 1,181.25 RJB
administrator and J. Carton; revise/edit draft
. notices to class members;

Feb-1 1-20 Emails with D. Isaac; emails with S. Hammack; 0.75 506.25 JIC
review revised draft Settlement Agreement;

Feb-12-20 Review, edit and revise draft Short Form Class 1.50 1,012.50 JIC
Notice, Preliminary Approval Order and Final
Approval Order; conference with R. Berg
regarding same; emails with JND;

Feb-13-20 Teleconference with S. Hammack and D. Isaacs 0.75 506.25 JIC
regarding administration of settlement;
teleconference with D. Kaufman of Heffler
Claims;
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Feb-14-20 Review, edit and revise draft Settlement 2.50 1,687.50 JIC
Agreement; review timeline created by
O'Melveny; emails with opposing counsel;

Edit/revise draft settlement agreement; conference 3.00 2,025.00 RJB
with J. Carton regarding same;

Feb-19-20 Teleconference with S. Hammack regarding briefs 3.50 2,362.50 JIC
in support of preliminary approval; review S.
Hammack's proposed revisions; review draft long
form class notice;

Feb-20-20 Extensive revisions to draft brief in support of 5.50 3,712.50 JIC
preliminary approval to reflect Ford's counsel's
comments and input; multiple conferences with R.
Berg regarding same; review JND proposed edits
to short and long form notice;

Multiple conferences with J. Carton; review J. 4.50 3,037.50 RJB
Carton edits to draft papers in support o f
preliminary approval;

Feb-21-20 Review Settlement Administrator's comments to 2.75 1,856.25 JIC
draft Notice forms; review draft Declaration;
forward revised brief in support of preliminary
approval to S. Hammack;

Feb-24-20 Review Ford's draft brief in support of preliminary 2.75 1,856.25 JIC
approval; teleconference with P. Fazio;
teleconference with S. Hammack; review draft
correspondence to Judge Kahn and revise same;

Feb-25-20 Review next round of edits by Ford to all 1.75 1,181.25 JIC
documents;
Feb-26-20 Review multiple iterations of all documents (PAO, 3.75 2,531.25 JIC

FAO, Short Form and Long Form Notices,
Preliminary Approval Brief and SAC) emails with
opposing counsel;

Review and comment on all supporting documents 3.00 2,025.00 RJB
and exhibits to preliminary approval papers;

Feb-27-20 Continue revisions to draft preliminary approval 3.75 2,931.25 JIC
documents;
Feb-28-20 Edit/revise draft brief in support of preliminary 1.50 1,012.50 JIC

approval; email to S. Hammack regarding same;
Invoice

Mar-03-20

Mar-04-20

Mar-05-20

Mar-26-20

Mar-27-20

Mar-31-20

Apr-29-20

May-01-20

May-04-20

May-05-20

May-06-20

May-11-20

Continue to edit/revise all papers in support of
preliminary approval; proof all edits and revisions;

Review revised Ford brief in support of motion for
preliminary approval; teleconference with S.
Hammack; review final draft of our affirmative
filings;

Finalize entire filing in support of motion for
preliminary approval; review revised, final draft of
Ford's brief in support; teleconference with Judge
Kahn's chambers regarding return date;

Emails with Judge D'Agostino's clerk;
teleconference with P. Fazio;

Teleconference with P. Fazio; teleconference with
NDNY (Judge D'Agostino); draft proposed Order;
emails with P. Fazio regarding same;

Teleconference with Judge D'Agortino; conference
with J. Carton;

Review ECF Order by Judge D'Agostino; emails
with B. Norton regarding same;

Teleconference with P. Fazio regarding update
regarding preliminary approval hearing; review
prior ECF order;

Await conference call with Judge D'Agostino;
teleconference with Britney Norton regarding
pending motion for preliminary approval;

Review ECF filed Preliminary Approval Order;
teleconference with P. Fazio;

Teleconference with P. Fazio; review ECF notice
regarding status report update; draft proposed
report; emails with JND regarding preliminary
approval order;

Teleconference with P. Fazio regarding Joint Status
Report; edit/revise draft report; review ECF filing
of same;

Emails with Settlement Administrator regarding
implementation of PAO;

3.50

2.50

3.50

0.50

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0.75

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0.30

2,362.50

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168.75

337.50

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May-22-20 Emails with Settlement Administrator regarding 0.25 168.75 JIC
notice to Class Members;

Jun-18-20 Emails with opposing counsel and JND regarding —0.25 168.75 JIC
notices and Claim Form;

Jul-23-20 Review Claim Form and Claim Instructions; email 0.75 506.25 JIC
to Settlement Administrator;

Jul-24-20 Review revised draft Claim Form and Instructions; 0.50 337.50 JIC
emails with Settlement Administrator;

Aug-04-20 Multiple emails with Settlement Administrator and 0.50 337.50 JIC
defense counsel;

Aug-05-20 Emails with Settlement Administrator and defense 0.75 506.25 JIC
counsel regarding claims form and instruction;

Aug- 14-20 Emails with Settlement Administrator and Ford's 0.25 168.75 JIC
counsel regarding notice documents;

Aug-17-20 Review additional edits/revisions to draft 0.75 506.25 JIC
settlement notice materials (claim form and
accompanying instructions);

Aug-18-20 Review multiple emails with Settlement 0.75 506.25 JIC
Administrator; review draft website; review S.
Hammack's comments to Claim Form and
instructions;

Aug-19-20 Emails with Settlement Administrator and S. 0.50 337.50 JIC
Hammack regarding Short Form Notice and other
notice materials;

Aug-20-20 Emails with Settlement Administrator; review draft 0.50 337.50 JIC
website;
Aug-24-20 Additional review of proposed edits to website and 0.50 337.50 JIC

notice materials; emails with Administrator;

Aug-25-20 Additional review and revisions to Settlement 0.50 337.50 JIC
Website; emails with administrator and S.
Hammack regarding same;

Aug-26-20 Further review of revisions to website and notice 0.50 337.50 JIC
materials;

Aug-27-20 Additional review of edits to website and 0.50 337.50 JIC
Invoice
notice documents (and claim form); emails with
Settlement Administrator regarding same;
Sep-09-20 Conference with R. Berg regarding inquiry from
Class Member regarding pending resolution;
Sep-14-20 Review Class Members' inquiries regarding
settlement and help drafting responses;
Sep-16-20 Emails with Judge Kahn's clerk; review opt-out
correspondence to Court;
Sep-29-20 Emails with R. Berg regarding additional class
members’ inquiries;
Oct-05-20 Review, edit and revise draft brief in support of fee
application;
Oct-07-20 Edit/revise draft brief in support of fee application;
conference with R. Berg regarding same;
Oct-09-20 Emails with Class Member regarding participation
in settlement; review/edit/revise draft affirmation
in support of fee petition;
Totals
FEE SUMMARY:
Lawyer Hours
Jeffrey Carton 279.65
Chris Barraza 85.20
Myles K. Bartley 653.10
Robert J. Berg 259.25
DISBURSEMENTS
Process Service
Filing Fees
Legal Research

JAMS Mediation Fees
Federal Express
Totals:

Total Fee & Disbursements

0.25

0.75

0.25

0.25

3.75

2.75

1.75

168.75

506.25

168.75

168.75

2,531.25

1,856.25

1,181.25

1277.20 $843,652.50

Effective Rate

$675.00

$650.00

$650.00

$675.00

379.32

800.00
1,617.50
10,375.34
119.42
$13,291.58

$856,944.08

Case 1:17-cv-PQ29@HEK-DJS Document 65-2 Filed 10/21/20 @dgbeBhSo2GD

JIC

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Amount

$188,763.75

$55,380.00

$424,515.00

$174,993.75
